            Case 4:19-cv-06417-JST Document 1 Filed 10/07/19 Page 1 of 5




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA


 JOSE ALVARADO,

                                 Plaintiff,                   Docket No. 3:19-cv-6417

        - against -                                           JURY TRIAL DEMANDED

 MOTHER JONES, LLC

                                 Defendant.


                                           COMPLAINT

       Plaintiff Jose Alvarado (“Alvarado” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Mother Jones, LLC (“Mother Jones” or

“Defendant”) hereby alleges as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of US Representative of New York 14th congressional district

Alexandria Ocasio-Cortez, owned and registered by Alvarado, a professional photographer.

Accordingly, Alvarado seeks monetary relief under the Copyright Act of the United States, as

amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in California.
            Case 4:19-cv-06417-JST Document 1 Filed 10/07/19 Page 2 of 5




       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Alvarado is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 1689 Summit

Street, Yorktown Heights, NY 10598.

       6.      Upon information and belief, Mother Jones is a domestic limited liability

company duly organized and existing under the laws of the State of California with a place of

business 222 Sutter Street, Suite 600, San Francisco, California 94108. Upon information and

belief Mother Jones is registered with the California Department of State Division of

Corporations to do business in the State of California. At all times material, hereto, Mother Jones

has owned and operated a website at the URL: www.MotherJones.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Alvarado photographed Alexandria Ocascio-Cortez (the “Photograph”). A true

and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Alvarado is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-118-599.

       B.      Defendant’s Infringing Activities

       10.     Mother Jones ran an article on the Website entitled A Progressive Insurgent Just

Pulled Off the Biggest Democratic Primary Upset in Years. See URL:
            Case 4:19-cv-06417-JST Document 1 Filed 10/07/19 Page 3 of 5




https://www.motherjones.com/politics/2018/06/alexandria-ocasio-cortez-joe-crowley-primary-

new-york/. A screenshot of the Photograph on the Website is attached hereto as Exhibit B.

          11.   Mother Jones did not license the Photograph from Plaintiff for its article, nor did

Mother Jones have Plaintiff’s permission or consent to publish the Photograph on its Website.

                               CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                               (17 U.S.C. §§ 106, 501)

          12.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.   Mother Jones infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Website. Mother Jones is not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          14.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.   Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.   As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

          17.   Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).
            Case 4:19-cv-06417-JST Document 1 Filed 10/07/19 Page 4 of 5




       18.     Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Mother Jones be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

               profits, gains or advantages of any kind attributable to Defendant’s infringement

               of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

               U.S.C. § 505;

       5.      That Plaintiff be awarded pre-judgment interest; and

       6.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       October 7, 2019
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Case 4:19-cv-06417-JST Document 1 Filed 10/07/19 Page 5 of 5




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